                         Case 17-22461-AJC          Doc 70     Filed 07/27/18      Page 1 of 2




           ORDERED in the Southern District of Florida on July 27, 2018.




                                                                   A. Jay Cristol, Judge
                                                                   United States Bankruptcy Court
_____________________________________________________________________________
                                    UNITED STATES BANKRUPTCY COURT
                                     SOUTHERN DISTRICT OF FLORIDA
                                             MIAMI DIVISION

          IN RE:                                               Case No. 17-22461-AJC

          TAMARA VERNON,                                       Chapter 13

                      Debtor.
          ______________________________________/

            AGREED ORDER SUSTAINING IN PART THE OBJECTION TO CLAIM [D.E. 55]

                   THIS CAUSE was scheduled to be heard on August 8, 2018 at 2:00 P.M. to consider the

          Objection to Claim of Habitat for Humanity of Greater Miami [D.E. 55] (the “Objection”) filed

          by the Debtor, Tamara Vernon. Habitat for Humanity of Greater Miami (the “Secured Creditor”)

          has agreed to the relief as provided in this Order. The Court has reviewed the Objection, and the

          record herein, and is advised that this matter is agreed. Therefore, it is,

                   ORDERED:
                  Case 17-22461-AJC              Doc 70       Filed 07/27/18         Page 2 of 2




         1.       The Objection is SUSTAINED in part, on the terms provided herein.

         2.       The Secured Creditor filed Claim #1-1 on November 29, 2017 (the “Claim”). The

Claim reflects a total secured claim of $109,482.18 with a pre-petition arrearage of $18,626.39.

By agreement, the arrearage will be reduced by the amount of $591.60, such that the total pre-

petition arrearage is $18,034.79.

         3.       Each party shall bear their own attorney’s fees and costs related to the Objection

to Claim.

         4.       The Court retains jurisdiction to enforce the terms of this Order.

                                                        ###

Submitted by:

Rachel L. Ahlum, Esq.
Aldridge | Pite LLP
Attorney for Secured Creditor
Fifteen Piedmont Center
3575 Piedmont Rd., N.E., Suite 500
Atlanta, GA 30305
Phone: (404) 994-7400
Fax: (888) 873-6147
Email: RAhlum@aldridgepite.com

Attorney Rachel L. Ahlum, Esq., is directed to mail a conformed copy of this Order to all interested parties and file a
certificate of service reflecting service thereof.
